                 Case 1:23-cr-00118-AT Document 72 Filed 05/30/23 Page 1 of 2




STEPHEN R. COOK
direct dial: 949.752.7100
fax: 949.252.1514
scook@brownrudnick.com




                                                            May 26, 2023




VIA ECF
The Honorable Analisa Torres
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007


      RE:           United States v. Kwok, et al., 1:23-cr-00118 (AT)


Dear Judge Torres:

       This firm represents Defendant Ho Wan Kwok in the above-captioned case. I write to
respectfully request that the Court issue an order granting Mr. Kwok’s counsel, investigator(s),
and any retained defense expert(s) permission to enter the Sherry-Netherland apartment, located
at 781 Fifth Avenue, Apts. 1801, MR 2219, MR 719, New York, New York 10022 (“Sherry-
Netherland Apartment”) for purposes of visual inspection and video/photographic documentation.

         Mr. Kwok resided at the Sherry-Netherland Apartment when he was arrested in this
matter, and the Government executed a search warrant at this location at the time of the arrest.
The Sherry-Netherland Apartment currently is under the control of a bankruptcy trustee
(“Trustee”) in the Chapter 11 bankruptcy proceedings in the case captioned In re Ho Wan Kwok,
et al., Case No. 22-50073 (JAM) (Bankr. D. Conn.). The Trustee has announced his intention to
sell the Sherry-Netherland Apartment expeditiously. On April 20, 2023, the Honorable Julie A.
Manning of the U.S. Bankruptcy Court for the District of Connecticut entered an order
authorizing, among others, the U.S. Department of Justice and the FBI to enter the apartment.
The Bankruptcy Court also authorized other persons to enter the apartment “pursuant to an order
issued by the United States District Court for the Southern District of New York . . . .” (See
Exhibit A hereto).

       Counsel for Mr. Kwok believes that access to, and inspection of the current condition of,
the Sherry-Netherland Apartment is necessary to the preparation of his defense, and the apartment
         Case 1:23-cr-00118-AT Document 72 Filed 05/30/23 Page 2 of 2
         May 26, 2023
         Page 2



will shortly become unavailable to Mr. Kwok’s defense team following its sale. Counsel for
Mr. Kwok has conferred with the Government on this issue and the Government has no opposition
to this request. A proposed order is attached hereto for the Court’s review and endorsement.
Thank you for your consideration.



                                           Sincerely,

                                           BROWN RUDNICK LLP




                                           STEPHEN R. COOK




cc: Counsel of record (via ECF)


Attachments enclosed.
